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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

                  Plaintiffs/Counterclaim
                                                    No. 1:21-cv-02130-CJN
                  Defendants,

       v.

HERRING NETWORKS, INC., et al.,                     Judge Carl J. Nichols

                  Defendants/
                  Counterclaim Plaintiffs/
                  Third-Party Plaintiffs,

       v.

AT&T SERVICES, INC., et al.,

                  Third-Party Defendants.

                      NOTICE OF WITHDRAWAL OF APPEARANCE

        Pursuant to Local Civil Rule 83.6(b), counsel Julia L. Koechley respectfully withdraws her

 appearance as counsel for the Defendants in this action.

        Defendants consent to the withdrawal of this appearance. Defendants will continue to be

 represented by Brian McCalmon, Blaine C. Kimrey, Jeanah Park, Bryan Clark, and Brian

 Ledebuhr of Vedder Price P.C.

        Respectfully submitted this 3rd day of April, 2023.

                                              /s/ Julia L. Koechley
                                              Julia L. Koechley
                                              VEDDER PRICE P.C.
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                                              Chicago, IL 60601
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                                              Counsel for Defendants
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system, which automatically sends e-mail notification of such

filing to all attorneys of record.

        This 3rd day of April, 2023.

                                                               /s/ Julia L. Koechley




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